Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 1 of 14 PageID #: 22445




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


 ALNYLAM
 PHARMACEUTICALS, INC.,


                            Plaintiff,

                 V.                        Civil Action No. 22-336-CFC
                                           (consolidated)
 PFIZER, INC., PHARMACIA &
 UPJOHN CO. LLC, BIONTECH
 SE, and BIONTECH
 MANUFACTURING GMBH,

                         Defendants.



Ethan H. Townsend, MCDERMOTT WILL & EMERY LLP, Wilmington,
Delaware; William G. Gaede, III, Anisa Noorassa, MCDERMOTT WILL &
EMERY LLP, San Francisco, California; Sarah Chapin Columbia, Sarah J.
Fischer, MCDERMOTT WILL & EMERY LLP, Boston, Massachusetts; Ian B.
Brooks, Timothy Dunker, MCDERMOTT WILL & EMERY LLP, Washington,
D.C.; Bhanu K. Sadasivan, MCDERMOTT WILL & EMERY LLP, Menlo Park,
California; Mandy H. Him, MCDERMOTT WILL & EMERY LLP, Irvine,
California

            Counsel for Plaintiffs

Arthur G. Connolly, III, Alan R. Silverstein, CONNOLLY GALLAGHER LLP,
Wilmington, Delaware; Sara Tonnies Horton, WILLKIE FARR & GALLAGHER
LLP, Chicago, Illinois; Michael W. Johnson, Daniel Constantinescu, Brian W.
Frino, WILLKIE FARR & GALLAGHER LLP, New York, New York

            Counsel for Defendants Pfizer Inc., Pharmacia & Upjohn Co. LLC

Jack B. Blumenfeld, Jeremy A. Tigan, MORRIS, NICHOLS, ARSHT &
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 2 of 14 PageID #: 22446




TUNNELL LLP, Wilmington, Delaware; Charles B. Klein, Jovial Wong, Claire A.
Fundakowski, WINSTON & STRAWN LLP, Washington, D.C.; Katherine L.
Kyman, Brian L. O'Gara, WINSTON & STRAWN LLP, Chicago, IL; Ashley
Graham, WINSTON & STRAWN LLP, New York, New York

            Counsel for Defendants BioNTech SE, BioNTech Manufacturing
            GmbH


                        MEMORANDUM OPINION




August 9, 2024
Wilmington, Delaware




                                      11
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 3 of 14 PageID #: 22447




                                                   {;-L
                                                             coLMF.CNNoLLY
                                                                      CHIEF JUDGE

       In these consolidated actions, Plaintiff Alnylam Pharmaceuticals, Inc.

alleges that COVID-19 vaccines manufactured by Defendants Pfizer, Inc,

Pharmacia & Upjohn Co. LLC, BioNTech SE, and BioNTech Manufacturing

GmbH infringe claims of six Alnylam patents, including U.S. Patent No.

 11,590,229 B2 (the #229 patent). Pending before me is the parties' claim

construction dispute regarding claims 27 and 28 of the #229 patent.

                                          I.

       A patent gives its owner the right to exclude others from making, using,

selling, or importing the inventions covered by the patent. Prima Tek JI, L.L. C. v.

A-Rao Co., 222 F.3d 1372, 1379 (Fed. Cir. 2000). An inventor puts the public on

notice of the bounds of her invention by writing "one or more claims" in the patent

that "point[] out and distinctly claim[] the subject matter which the inventor or a

joint inventor regards as the invention." 35. U.S.C. § 112(b). "It is a 'bedrock

principle' of patent law that 'the claims of a patent define the invention to which

the patentee is entitled the right to exclude."' Phillips v. AWH Corp., 415 F.3d

1303, 1312 (Fed. Cir. 2005).
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 4 of 14 PageID #: 22448




        "[T]he construction of a patent, including terms of art within its claim[s], is

exclusively within the province of the court." Markman v. Westview Instruments,

Inc., 517 U.S. 370,372 (1996). In the Federal Circuit's words, the court not only

has "[t]he duty ... to determine the meaning of the claims at issue," but "[i]n the

exercise of that duty, [it] has an independent obligation to determine the meaning

of the claims, notwithstanding the views asserted by the adversary parties." Exxon

Chem. Pats., Inc. v. Lubrizol Corp., 64 F .3d 1553, 1555 (Fed. Cir. 1995). In

fulfilling this independent obligation, the court is to construe each claim at issue

"with an eye toward giving effect to all terms in the claim." Bicon, Inc. v.

Straumann Co., 441 F.3d 945, 950 (Fed. Cir. 2006); see also Merck & Co. v. Teva

Pharms. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) ("A claim construction

that gives meaning to all the terms of the claim is preferred over one that does not

do so").

                                           II.

        Before setting forth the claims at issue here, a word to the wise. When

reading the claims, don't be intimidated by or worry about understanding the

chemical names and symbols in the claims. For each claim, two words-which are

readily understandable-are really all that is necessary to resolve the dispute at

hand.

                                            2
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 5 of 14 PageID #: 22449




      So, with that in mind, claim 27 of the #229 patent reads:

            What is claimed is ...

            [a] vaccine comprising a lipid particle and a
            pharmaceutically acceptable diluent, excipient, or carrier,
            wherein the lipid particle comprises:

            (i) a nucleic acid, wherein the nucleic acid comprises
            RNA,

            (ii) 35-65 mol % of a protonatable lipid compound,

            (iii) 3-12 mol % distearoylphosphatidylcholine (DSPC),

            (iv) 15-45 mol % cholesterol, and

            (v) 0.5-10 mol % of a PEG-modified lipid,

            wherein the mol % is based on 100% total moles of lipids
            in the lipid particle,

            wherein the protonatable lipid compound comprises a
            head group, hydrophobic tails, and a central moiety to
            which the head group and the hydrophobic tails are
            directly bonded, wherein:

            the central moiety is a nitrogen atom;

            the hydrophobic tails consist of two hydrophobic tails;

            each of the two hydrophobic tails has the formula -
            R 12-M 1-R 13 , wherein:

            R 12 is a C4 -C14 alkyl group, M 1 is -OC(O)-, and R 13 is
            a C1 0-C 20 branched alkyl, wherein R 13 is branched at the
            alpha position relative to the -OC(O)- group;

                                         3
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 6 of 14 PageID #: 22450




             the chain length of formula-R 12-M 1-R13 is 17 atoms;
             and

             the total carbon atom content of each hydrophobic tail is
             21 to 26 carbon atoms.


#229 patent at 493:43; 497:18-498:19 (emphasis added). Claim 28 reads: "What is

claimed is ... [t]he vaccine of claim 27, wherein the head group consists of a

saturated aliphatic group and a hydroxyl group. #229 patent at 493:43; 498:20-21

(emphasis added).

                                         III.

      The parties' claim construction dispute is not about the meaning of

"vaccine." The parties agree that I should construe "vaccine" to mean "a

preparation that is used to stimulate the body's immune response and protects

against disease." D.I. 191 at 8.

      What the parties dispute is whether the term "vaccine" is "limiting" in

claims 27 and 28. "Limiting" is patent-speak for "is an element of the claim." In

patent law, each substantive element in a claim is referred to as a "limitation." See

Manual of Patent Examining Procedure§ 2103 (9th ed., Rev. 07.2022) (2023)

("For processes, the claim limitations will define steps or acts to be performed.

For products, the claim limitations will define discrete physical structures or

materials."). To prove that a process or product infringes a patent's claims, the
                                          4
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 7 of 14 PageID #: 22451




patent owner "must show that the accused [process or product] contains every

limitation in the asserted claims." Mas-Hamilton Group v. LaGard, Inc., 156 F .3d

 1206, 1211 (Fed. Cir. 1998).

       Notwithstanding the fact that claim 27 explicitly states that "[w]hat is

claimed is ... a vaccine" and claim 28 explicitly states that "what is claimed is ...

the vaccine of claim 27," Alnylam says in its briefing that "[n]othing about [claims

27 and 28] suggests that the term 'vaccine' is meant to be a limitation." D.I. 184

at 64. Its counsel steadfastly and without any hint of irony maintained this position

at oral argument:

             THE COURT: Just let's be really clear. So Claim 27
             provides, quote, a vaccine, right, and then words that
             follow. And your position is that - I just want to get this
             exactly right -- vaccine is not a limitation of the claim,
             right, that's your-

             [COUNSEL]: Correct, correct.

             THE COURT: So you want me to read a claim which
             literally says that it's claiming a vaccine, and you' re
             telling me it doesn't have to claim -- or what is accused
             of infringing it doesn't have to be a vaccine; right?
             That's your position?

             [COUNSEL]: That's absolutely right, Your Honor.

D.I. 236 at 181 :9-20.




                                           5
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 8 of 14 PageID #: 22452




      To be clear, I do not fault Alny lam's counsel for making this argument, even

though it made me think at the time that I was in a nonsensical wonderland. See

ALICE IN WONDERLAND (Walt Disney Productions 1951) (Alice saying, "Ifl had a

world ofmy own, everything would be nonsense. Nothing would be what it is,

because everything would be what it isn't. And contrary wise, what it is, it

wouldn't be. And what it wouldn't be, it would. You see?"). For starters, his

logic was largely embraced by Defendants' counsel. At no point during the claim

construction oral argument or in the 33 pages of the Joint Claim Construction Brief

(D.I. 184) devoted to the "vaccine" claim term did Defendants' counsel ever say

words to the effect, "Of course 'vaccine' is a limitation of the claims. The claims

explicitly claim 'a vaccine!"' According to Defendants, "vaccine" is a limitation

in claims 27 and 28 not because the claims explicitly claim a vaccine but rather

because ( 1) "'vaccine' does not merely recite the intended use of the claimed

composition, but provides structural limitations with respect to the types of RNA

that can be used," D.I. 184 at 71; (2) "'vaccine' in the preamble of independent

claim 2 7 provides the necessary antecedent basis for ' [t]he vaccine' in dependent

claim 28, D.I. 184 at 71 (brackets in the original); and (3) "had the inventors not

intended to limit claim 27 of the #229 to a 'vaccine,' they would have simply

recited a 'pharmaceutical composition' like they did for claims 1 to 20 of the

                                          6
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 9 of 14 PageID #: 22453




[#]229 patent," D.I. 184 at 71. Thus, Defendants accepted the fundamental

premise of Alnylam's argument-namely, that a patent does not necessarily claim

what it claims if what it claims is set forth in the claim's introductory words (i.e.,

the claim's preamble).

      Second, and in fairness to both sides' counsel, the real culprit here is a long

line of binding Federal Circuit case law that has endorsed the Mad Hatter logic of

that premise. The Federal Circuit has expressly held on numerous occasions that

"[g]enerally, the preamble [of a claim] does not limit the claim[]." Allen Eng'g

Corp. v. Bartell Indus., Inc., 299 F.3d 1336, 1346 (Fed. Cir. 2002); see also, e.g.,

Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d 1229, 1236 (Fed. Cir. 2017)

("Generally, the preamble does not limit the claims."); Aspex Eyewear, Inc. v.

Marchon Eyewear, Inc., 672 F.3d 1335, 1347 (Fed. Cir. 2012) ("As a general

rule[,] preamble language is not treated as limiting." (citing Allen Eng 'g, 299 F .3d

at 1346 (Fed. Cir. 2002)); DeGeorge v. Bernier, 768 F.2d 1318, 1322 n.3 (Fed. Cir.

1985) ("Generally, and in this case, the preamble does not limit the claims."). And

it has expressly held on numerous occasions that "[p]reamble language that merely

states the purpose or intended use of an invention is generally not treated as

limiting the scope of the claim." Bicon, 441 F.3d at 952; see also, e.g., Marrin v.

Griffin, 599 F.3d 1290, 1294 (Fed. Cir. 2010) (same) Pitney Bowes, Inc. v.

                                           7
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 10 of 14 PageID #: 22454




 Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1999) (where the preamble

 "merely states, for example, the purpose or intended use of the invention, then the

 preamble is of no significance to claim construction because it cannot be said to

 constitute or explain a claim limitation."). In Marrin, the court went so far as to

 refer to this latter general rule as "the presumption against reading a statement of

 purpose in the preamble as a claim limitation." 599 F.3d at 1294-95 (emphasis

 added). In this case, Alnylam has seized on this legal presumption. It argues that

 "vaccine" is not a limitation of claims 27 and 28 because it is found in the claims'

 preambles and "simply provides the 'intended use' for the invention." D.I. 184

 at 65.

          The Federal Circuit, however, has also repeatedly held that "[t]he preamble

 limits the claimed invention if it is 'necessary to give life, meaning, and vitality to

 the claim."' Marrin, 599 F.3d at 1296. See also, e.g., Catalina Mktg. Int'/, Inc. v.

 Coo/savings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002); MBO Labs., Inc. v.

 Becton, Dickinson & Co., 474 F.3d 1323, 1330 (Fed. Cir. 2007); Rotatable Techs.

 LLC v. Motorola Mobility LLC, 567 F. App'x 941, 943 (Fed. Cir. 2014); Bio-Rad

 Labs., Inc. v. JOX Genomics Inc., 967 F.3d 1353, 1369 (Fed. Cir. 2020). And as I,

 for one, do not understand how the purpose or intended use of a claimed invention

 would not give meaning or vitality to that invention, the parties' dispute before me

                                            8
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 11 of 14 PageID #: 22455




 presents a conundrum. The purpose or intended use of something is the very

 reason for which that something is made or done. What could say more about the

 life, meaning, and vitality of a claimed invention than the claimed purpose or

 intended use of the invention?

       I am unable to resolve in an intellectually honest way the conundrum before

 me. It is undisputed that the term "vaccine" is found in the preamble of

 independent claim 27, from which claim 28 depends. See D.I. 184 at 64, 69, 92-

 93. 1 It is undisputed that "vaccine" describes the intended use of the claimed

 invention. See D.I. 184 at 65, 70. And I do not think it can be reasonably disputed

 that the term "vaccine" gives life, meaning, and vitality to the claims. Indeed,

 "[w]hat is claimed" first and foremost in the claims-literally-is a "vaccine."



 1
   Black's Law Dictionary defines "preamble" generally as "[a]n introductory
 statement in a constitution, statute, or other document explaining the document's
 basis and objective; esp[ecially] a statutory recital of the inconveniences for which
 the statute is designed to provide a remedy." Preamble, BLACK'S LAW
 DICTIONARY (12th ed. 2024). Black's Law Dictionary defines "preamble" for
 "patents" as "[t]he first words of a patent claim, often a single phrase indicating the
 field of art." Id. Consistent with this latter definition, the Federal Circuit treats a
 claim's first words as its preamble. Thus, for example, and consistent with
 Alny lam's insistence that "vaccine" is in the asserted claims' preambles here and is
 non-limiting, the Federal Circuit held in Arctic Cat Inc. v. GEP Power Prod., Inc.,
 919 F.3d 1320, 1322 (Fed. Cir. 2019), that the term "[a] personal recreational
 vehicle" in a claim that began with the words " [w]hat is claimed is ... [a] personal
 recreational vehicle comprising ...." was in the claim's preamble and non-
 limiting.
                                             9
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 12 of 14 PageID #: 22456




       In the end, I will construe the term "vaccine" as a limitation in the asserted

 claims because that construction comports with common sense, the very notion of

 "a claim," and the fundamental canon that a claim should be construed to give

 effect to all its terms. This construction will also preserve the credibility of the

 Court, the law, and the patent system in the eyes of the jury that will ultimately

 decide the outcome of this case. Under Federal Circuit law, "[t]he terms [of a

 patent], as construed by the court, must ensure that the jury fully understands the

 court's claim construction rulings and what the patentee covered by the claims."

 Power-One, Inc. v. Artesyn Techs., Inc., 599 F.3d 1343, 1348 (Fed. Cir. 2010)

 (internal quotation marks and citation omitted). I think it fair to say that rational

 jurors would find it confusing, question my competency, and perhaps even laugh

 out loud were I to instruct them that claims 27 and 28 do not claim what they

 explicitly claim and that to establish infringement of the claims Alnylam need not

 prove that the accused products are vaccines.

                                           IV.

       I conclude with the observation that this case well illustrates the need for the

 Federal Circuit to jettison its rulings that treat language in the preamble of a patent

 claim as not limiting the scope of the claim. I am not alone in this view. One

 prominent scholar has written:

                                            10
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 13 of 14 PageID #: 22457




             The Federal Circuit's rules for interpreting the preambles
             of patent claims are an incoherent mess. They aren't
             justified by history, logic, or policy. They hurt both
             patent owners and accused infringers in individual cases,
             and they hurt everyone by making it hard to understand
             what a patent covers. The Supreme Court (or the en bane
             Federal Circuit) should get rid of all these doctrines and
             simply hold that all the words of a patent claim matter.

 Mark A. Lemley, Without Preamble, 100 B.U. L. REV. 357, 388 (2020). And a

 prominent member of the Federal Circuit itself has stated:

             Over the years our court has struggled to make sense of
             when a preamble should be construed as limiting .

             . . . [W]e have not succeeded in articulating a clear and
             simple rule. As a result of the lack of clarity as to
             whether a preamble should be construed as limiting, our
             case law has become rife with inconsistency, both in
             result and in the articulation of the test. As the leading
             treatise on patent law observes, "the decisions are
             difficult to reconcile." 3 Donald S. Chisum, Chisum on
             Patents§ 8.06[1][d] (2010).

             It seems to me, a rule recognizing that all preambles are
             limiting would make better sense and would better serve
             the interests of all concerned. There is, after all, little to
             be said in favor of allowing an applicant, in the claim
             drafting process, to include material in the claims that is
             not binding. If patentees are allowed to include material
             in the claim definitions that is not binding, patentees can
             suggest or imply one position before the U.S. Patent &
             Trademark Office ("PTO") to secure allowance of the
             patent on the theory that the preamble is limiting and
             another, inconsistent position in infringement litigation
             on the theory that it is not limiting. Principles of fairness
             thus dictate that the patentee should be required to clearly
                                          11
Case 1:22-cv-00336-CFC Document 239 Filed 08/09/24 Page 14 of 14 PageID #: 22458




              define the claimed invention's scope. By creating a
              uniform rule that all preambles are limiting, we would
              ensure the patentee has the burden of drafting a patent
              that avoids confusion as to the scope of the claims. As
              the Supreme Court concluded in Merrill v. Yeomans, 94
              U.S. 568, 573-74, 24 L.Ed. 235 (1876), "nothing can be
              more just and fair, both to the patentee and to the public,
              than that the former should understand, and correctly
              describe, just what he has invented, and for what he
              claims a patent."

              Neither the Supreme Court nor our court sitting en bane
              has ever addressed the preamble limitation issue. I think
              the time may have come for us to eliminate this vague
              and confusing rule.

 Am. Med. Sys., Inc. v. Biolitec, Inc., 618 F.3d 1354, 1364 (Fed. Cir. 2010) (Dyk, J.,

 dissenting) (some citations omitted).

       If this case is appealed, I hope the Federal Circuit will view it as an

 opportunity to clarify its jurisprudence in this area. All the words of a patent claim

 should matter. The purpose and intended use (and meaning and vitality) of a

 patent claim as well as common sense call for a simple rule of law: A claim claims

 what it claims, nothing more and nothing less.

                                         ****

       The Court will enter an Order consistent with this Memorandum Opinion.




                                           12
